
THE COURT
delivered the following opinion :
“ That the appellant having in his declaration filed in this suit, only suggested a devastavit of assets which accrued after the judgment obtained by him against the appellees as executors of William Harwood, in the District Court of King and Queen, as stated in the said declaration, the appellees were not estopped from pleading a special plene administravit in bar of the appellant’s action, nor precluded from proving the same by the evidence stated in the record as offered by them on the trial of the issue in support of their plea, and that there is no error in the opinion of the District Court permitting that evidence to go to the jury.”
Judgment affirmed.(1)

(1) Mason’s devisees v. Peter’s adm. 1 Munf, 437.

